Case 2:05-cr-20224-SH|\/| Document 9 Filed 07/12/05 Page 1 of 2 Page|D 9

iN THE UNITED sTATEs DIsTRtCT COURT _:H m _
FoR THE wEsTERN DISTRICT oF TENNESSE§ '"L“"" %»Gé .\;~.'_e.
wEsTERN DtvisloN

 

UNITED STATES OF AMERICA

 

V.

JAMAL WILLIAMS

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on Qy(,(,£i/} /-2, og¢§g;he United States Attorney

for this di strict appeared on behalf of the gofernmel@/, and the defendant appeared in person and with
counsel:

NAME gpa/71 v& MW-* (/r 50 D 3 who is Retained/Appointed.

The defendant, through counse], waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
sho\yo a District Judge, such period is extended

lDEdefer:n:l.=.u:tt,_w_ho is not in cli§f<`)_dy;`maystand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

UNITED STATES MAGISTRATE JUDGE

CHARGES: 21:84]; 18:922(g);

U. S4 Attorney assigned to Case: S. Hall

Age:;?; /

   

UNITED sTTEs DRISTICT OURT - \)WERNSTE D"RITICT 0 TENNESSEE

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PDA

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Honorable J. Breen
US DISTRICT COURT

